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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
IVETTE ROSARIO,
                            Plaintiff,
                -v-                                                  ORDER

COMMISSIONER OF SOCIAL SECURITY,                               20 Civ. 6558 (PGG)

                            Defendant.

PAUL G. GARDEPHE, U.S.D.J.:

                Plaintiff, who is proceeding pro se, filed her Complaint on June 29, 2020,

without paying the filing fees to commence this action. (Dkt. No. 2) Plaintiff filed an

application to proceed in forma pauperis, which did not provide answers to Questions 1

and 2 of the application form. (Dkt. No. 1) On September 7, 2020, this Court issued an

order directing Plaintiff to file a renewed application to proceed in forma pauperis that

answers Questions 1 and 2, by September 23, 2020. (Dkt. No. 5) Plaintiff has not filed a

renewed application, or otherwise responded to the September 7, 2020 order.

Accordingly, Plaintiff’s application to proceed in forma pauperis is denied.

                It is hereby ORDERED that by November 19, 2020, Plaintiff will either

(1) pay the $400 filing fee, or (2) file a renewed application to proceed in forma pauperis

that answers all of the questions on the application form. A copy of the application form

is appended to this order. If Plaintiff fails to comply with this order, then this action will

be dismissed.

                The Clerk of the Court is directed to send a copy of this order by certified

mail to pro se Plaintiff.

Dated: New York, New York
       October 18, 2020
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(full name of the plaintiff or petitioner applying (each person
must submit a separate application))
                                                                               CV                        (      ) (           )
                           -against-                              (Provide docket number, if available; if filing this with
                                                                  your complaint, you will not yet have a docket number.)




(full name(s) of the defendant(s)/respondent(s))


        APPLICATION TO PROCEED WITHOUT PREPAYING FEES OR COSTS
I am a plaintiff/petitioner in this case and declare that I am unable to pay the costs of these proceedings
and I believe that I am entitled to the relief requested in this action. In support of this application to
proceed in forma pauperis (IFP) (without prepaying fees or costs), I declare that the responses below are
true:

1.   Are you incarcerated?                            Yes                 No     (If “No,” go to Question 2.)
     I am being held at:

     Do you receive any payment from this institution?                Yes             No
     Monthly amount:
     If I am a prisoner, see 28 U.S.C. § 1915(h), I have attached to this document a “Prisoner Authorization”
     directing the facility where I am incarcerated to deduct the filing fee from my account in installments
     and to send to the Court certified copies of my account statements for the past six months. See 28
     U.S.C. § 1915(a)(2), (b). I understand that this means that I will be required to pay the full filing fee.

2.   Are you presently employed?                     Yes                 No
     If “yes,” my employer’s name and address are:


     Gross monthly pay or wages:

     If “no,” what was your last date of employment?

     Gross monthly wages at the time:

3.   In addition to your income stated above (which you should not repeat here), have you or anyone else
     living at the same residence as you received more than $200 in the past 12 months from any of the
     following sources? Check all that apply.

     (a) Business, profession, or other self-employment                               Yes                     No
     (b) Rent payments, interest, or dividends                                        Yes                     No



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     (c) Pension, annuity, or life insurance payments                             Yes                No
     (d) Disability or worker’s compensation payments                             Yes                No
     (e) Gifts or inheritances                                                    Yes                No
     (f) Any other public benefits (unemployment, social security,
                                                                                  Yes                No
         food stamps, veteran’s, etc.)
     (g) Any other sources                                                        Yes                No

     If you answered “Yes” to any question above, describe below or on separate pages each source of
     money and state the amount that you received and what you expect to receive in the future.




     If you answered “No” to all of the questions above, explain how you are paying your expenses:



4.   How much money do you have in cash or in a checking, savings, or inmate account?



5.   Do you own any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other
     financial instrument or thing of value, including any item of value held in someone else’s name? If so,
     describe the property and its approximate value:



6.   Do you have any housing, transportation, utilities, or loan payments, or other regular monthly
     expenses? If so, describe and provide the amount of the monthly expense:



7.   List all people who are dependent on you for support, your relationship with each person, and how
     much you contribute to their support (only provide initials for minors under 18):



8. Do you have any debts or financial obligations not described above? If so, describe the amounts owed
   and to whom they are payable:



Declaration: I declare under penalty of perjury that the above information is true. I understand that a false
statement may result in a dismissal of my claims.


Dated                                                   Signature


Name (Last, First, MI)                                  Prison Identification # (if incarcerated)


Address                                   City                           State            Zip Code


Telephone Number                                        E-mail Address (if available)



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